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The following constitutes the ruling of the court and has the force and effect therein described.




 Signed July 30, 2020                      United States Bankruptcy Judge
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     ABILENE DIVISION

       IN RE:                                     §                   CASE NO. 19-10280-rlj7
                                                  §
      BIG COUNTRY MOBILE                          §
      FLFLEETFLEEVICES,
      FLEET SERVICES, LLCLLC                      §
                                                  §
       DEBTOR.                                    §                   CHAPTER 7


                   AGREED ORDER GRANTING MOTION FOR RELIEF FROM THE
                AUTOMATIC STAY AND WAIVER OF 30 DAY HEARING REQUIREMENT

       On July 10, 2020, a Motion for Entry of Agreed Order Granting Relief from the Automatic Stay (the
 "Motion") regarding the personal property (2008 Ford F-450, VIN: 1FDXF46R98EE35183), of Big
 Country Mobile Fleet Services, LLC (the “Collateral”) was filed in the above-referenced case. The Court
 finds that the Motion was properly served pursuant to the Federal and Local Rules of Bankruptcy
 Procedure and that it contained the appropriate fourteen (14)-day negative language, pursuant to LBR
 4001, which directed any party opposed to the granting of the relief sought by the Motion to file a written
 response within fourteen days or the Motion would be deemed by the Court to be unopposed. The Court
 finds that no objection or other written response to the Motion has been timely filed by any party. Due to
 the failure of any party to file a timely written response, the allegations contained in the Motion stand
 unopposed and, therefore, the Court finds that good cause exists for the entry of the following order:

      IT IS THEREFORE ORDERED that the automatic stay provided in 11 U.S.C. § 362 be, and it is
 hereby, LIFTED and TERMINATED so as to authorize PeopleFund, and its agents and assigns, to
 immediately pursue any and all of its rights and remedies under state law and the security documents
 pledging the Collateral, including repossession, foreclosure, and sale of said Collateral.
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     IT IS FURTHER ORDERED that, since the Motion was unopposed by any party, the (14)-day stay
period otherwise imposed by Fed. R. Bankr. R. 4001 (3) shall not be applicable to this Order.

                                     ### End of Order ###



ORDER SUBMITTED BY:                    APPROVED AS TO
                                       FORM AND CONTENT:


/s/Ryan Dunn _                         /s/Ashton R. Anderson
Ryan Dunn                              Ashton R. Anderson
DUNN PLLC                              Anderson Law
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